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Mary B. Logan
Plaintiff Pro-Se
P. O. Box 5237
Clinton, New Jersey 08809
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                              UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW JERSEY


_______________________________________________

MARY BASILE LOGAN, individually and on behalf             |
of those similarly situated, Pro-Se;                      |
                                                          |
                             Plaintiff,                   |
                                                          |
MERRICK GARLAND, in his official capacity                 |
Attorney General, Department of Justice; et al.           |
                                                          | CIVIL DOCKET: 3:24-CV-00040
                             Defendants.                  |       ZNQ-TJB
                                                          |
________________________________________________

PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ CONSOLIDATED MOTION TO DISMISS,

                        DEMOCRATIC NATIONAL COMMITTEE AND
                          REPUBLICAN NATIONAL COMMITTEE




Dated April 15, 2024                                                   Mary Basile Logan
                                                                       Plaintiff, Pro-Se
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              Plaintiff, Mary Basile Logan, individually and on behalf of those similarly situated,

      does hereby reply by Opposition Motion to Defendant, the DEMOCRATIC NATIONAL

      COMMITTEE’s (“DNC”) Consolidated Motion to Dismiss, (“Motion”) and REPUBLICAN

      NATIONAL COMMITTEE (“RNC”) herein provides the Honorable Court support to same, as

      follows:

                                         PRELIMINARY STATEMENT

         1.       Plaintiff has set forth her cause of action in the Amended Complaint with

      supplements to same dated April 1, 2024 and April 8, 2024, in addition to 34 Exhibits. The

      complex history, articulated in excruciating details through the Exhibits, are absolutely true

      and factual, sourced records of and belonging to Congressional, Senate, FBI and CIA

      repositories. The remainder of the Exhibits were open source obtained while being confirmed

      through two and, in some cases, three source confirmations using scientific methodology of

      analysis.

         2.       Plaintiff states that Defendants’, the DNC and RNC’s overtures and redundant

      disparaging language on frivolity, however artful applied or lawyerly, neither the DNC nor the

      RNC can dismiss the facts presented as Exhibits which corroborate the Plaintiff’s claims.

         3.       Plaintiff states that the abuse of the judicial system is represented in the DNC and

      RNC claims of innocence, claims which the Plaintiff has irrefutably proven as deceitful.

         4.       Plaintiff states that the magnitude of the DNC and RNC’s culpability is disclosed in

      their admission of pro hac vice admission of counsel by both parties, the foregoing action

      taken simultaneous to the DNC and RNC’s written declarations of “disjointed stream of

      claims” RNC, See Second Action, ECF 52 at p.1, Introduction and DNC “Argument”, See




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      Second Action, ECF 54-1 at p.7. The Defendant’s DNC and RNC’s actions contradict their

      statements opposing Plaintiff’s claims.

         5.    Plaintiff states, the DNC is and remains a central figure to the Plaintiff’s action as

      well those facts herein disclosed concerning her claims of harm.

         6.    Plaintiff has no benefit of counsel as set forth in the Amended Complaint,

      conforming to Federal Rules of Civil Procedure in plain language.

         7.    Plaintiff contests and absolutely refutes the claims set forth in the DNC and RNC

      presented Motions to Dismiss the Amended Complaint, the inclusive rebuttals and remedy are

      stated herein, including:

                 a. RNC: Federal Rules of Civil Procedure 12(b)(6) State a claim to relief that is

                     plausible on its face.

                 b. RNC: Establishment of injury in fact, pled through factual matter that, if taken

                     as true, states a claim, (See Ashcroft v. Iqbal, 556 U.S. at 678)

                 c. DNC: Federal Rules of Civil Procedure 8(a)(2) fair notice and facial

                     plausibility in conjunction with failure to state a claim, Fed. Civ. Rules of Civ.

                     Procedure 12(b)(6).

                 d. DNC: Federal Rules of Civil Procedure 12(b)(1) as regards satisfaction of three

                     requirements (i) injury in fact; (ii) traceability; and (iii) redressability. (See

                     Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016)).

                 e. DNC: Dismissal with prejudice, citing claim of futility. (See U.S. ex rel.

                     Schumann v. Asterzeneca Pharms. L.P., 769 F.3d 837, 849 (3d Cir. 2019);

                     McCormick v. Kline, 470 F. App’x 764, 765-66 (3d Cir. 2016)).




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                 f. DNC: DNC seeks award of costs as to Fed. R. Civ. P. 41(d) claiming that

                     Plaintiff’s amended complaint is comprised of the same claim against

                     Defendant. Plaintiff states that the amended complaint cannot on one hand fail

                     to allege a claim while simultaneously being determined by the Defendant to be

                     comprised of the same cause of action as previously entered; Plaintiff refutes

                     DNC’s statement, stating in clear, concise language the claim and harm herein.

         8.    Plaintiff’s states that the claims involving Russian election interference associated

      with the DNC and capitulated through passivity by the RNC were the only vexatious claims as

      evidenced by the DNC and HILLARY R. CLINTON admissions and fine.

         9.    Plaintiff states that the RNC’s failure of redress to the foregoing actions by the DNC

      resulted and contributed to the Plaintiffs harms as stated below.

         10.   Plaintiff requests the Honorable Court’s courtesy as to the complex history presented,

      absolutely necessary given the magnitude of the mounting avalanche in enormity, up to and

      including certain risk of national security of these United States, citing the military escalations

      between the nation-states of Iran and Israel, germane to Plaintiff’s action before the Court as

      well the Defendant, the DNC and RNC’s culpability.

                                      PROCEDURAL BACKGROUND

         11. Plaintiff realleges and incorporates by reference all paragraphs as set forth in the

      Amended Complaint as to the paragraphs below set forth fully herein.

         12. Plaintiff attaches the Supplements of April 1, 2024, as EXHIBIT 1, and April 8, 2024,

      as EXHIBIT 2, and the inclusive Exhibits (as enumerated 1-39, absent 20) ECF 45-1; 45-2;

      45-3; 45-4; 45-5; 45-6; 45-7; 45-8; 45-9; 45-10; 45-11; 45-12; 45-13; 45-14; 45-15; 45-16; 45-




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      17; 45-18; 45-19; 45-20; 45-21; 45-21; 45-22; 46; 46-1; 46-2; 55; 55-1; 55-2; 55-3; 55-4 and

      55-5, in support of the herein claims of harm.

                                        FACTUAL BACKGROUND

         13. Plaintiff states, Defendant, DEBBIE WASSERMAN SCHULTZ served as the DNC

      Chair from May 4, 2011 until her resignation effective date of July 28, 2016.

         14. Plaintiff states that while serving as the DNC Chairwoman, the Defendant, DEBBIE

      WASSERMAN SHULTZ, retained the services of Imran Awan, Jamal Awan and Abid Awan

      (“Awan Brothers”), a relationship with commenced under the DNC and at the directive in

      2004.

         15. Plaintiff states that the Awan Brothers worked with the co-Defendant, XAVIER

      BECERRA, then serving as the Attorney General for California.

         16. Plaintiff states that the Awan Brothers were subject of simultaneous 2017

      investigations conducted by Capitol Police, the Federal Bureau of Investigation (“FBI”) and

      Congressional action.

         17. Plaintiff states that the foregoing investigations were knowingly thwarted, overtly

      misled and squandered up to and including destruction and false records and/or facts being

      submitted or substituted as evidence including computer servers at the private residence of

      Imran Awan.

         18. Plaintiff states that the Defendants, the DNC and the RNC irrefutably contributed to

      the compromised investigations with the DNC projected and affixing statements as well as

      legal framework that professed Russian interference as a manifest scheme by which the Awan

      Brothers evaded justice. The fourth in a series of compromised investigations in which all

      four involved the DNC with direct ties to Marc Rich, BCC International, co-Defendants



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      MERRICK GARLAND, LLOYD AUSTIN, WILLIAM J. BURNS, CHRISTOPHER A.

      WRAY, DENIS MCDONOUGH, ALEJANDRO MAYORKAS, MARCIA FUDGE, ROBERT

      CALIFF, WILLIAM J. CLINTON, HILLARY R. CLINTON, THOMAS KEAN SR.,

      ROBERT MUELLER, JAMES COMEY, CHRISTOPHER J. CHRISTIE, RICHARD “DICK”

      CHENEY, ELIZABETH “LIZ” CHENEY, JOHN KERRY, GEORGE W. BUSH, BARACK

      HUSSEIN OBAMA, LORETTA LYNCH, JAMES BAKER, ERIC HOLDER, JOSEPH R.

      BIDEN, JOHN ASHCROFT, JAIME GORELICK, NANCY PELOSI, GEORGE

      NORCROSS, PHILIP MURPHY, TAHESHA WAY, JUDITH PERSICHILLI, SEJAL HATHI,

      MATTHEW PLATKIN, KATHY HOCHUL, ANDREW CUOMO, LETITIA JAMES, SUSAN

      RICE, ADAM SCHIFF, CHARLES “CHUCK” SCHUMER, XAVIER BECERRA, JANET

      YELLEN, ROD ROSENSTEIN, HUMA ABEDIN, DEBBIE WASSERMAN SCHULTZ,

      BILL NELSON, the DEMOCRATIC NATIONAL COMMITTEE, the REPUBLICAN

      NATIONAL COMMITTEE, OCCIDENTAL PETROLEUM, UNITED HEALTHCARE,

      JAMES PITTINGER, LISA SELLA, and ROBERT JUNGE.

         19. Plaintiff states that the Defendant, the DNC, XAVIER BECERRA, WILLIAM J.

      CLINTON, HILLARY R. CLINTON and other not yet named, imposed on the aforementioned

      investigations, knowingly and overtly, evidencing malice of forethought and planning,

      ensuring that the integrity of the inclusive investigations as well the determined outcome was

      compromised, thereby aiding and abetting the enemy and committed espionage against these

      United States.

         20. Plaintiff states that Defendant, CHRISTOPHER WRAY oversaw the FBI Awan

      Brothers investigation, consenting to the acceptance of the investigative outcome inclusive of




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      the blatant compromise to same, Defendant CHRISTOPHER WRAY aided and abetted the

      enemy and committed espionage against these United States.

         21. Plaintiff states that Imran Awan came to the United States from Pakistan, first arriving

      in New York in 1997, (https://www.washingtonpost.com/investigations/federal-probe-into-

      house-technology-worker-imran-awan-yields-intrigue-no-evidence-of-

      espionage/201709/16/100b4170-93f2-11e7-b9bc-b2f7903bab0d) the benefactor of the

      Diversity Immigrant Visa program, also known as the green card lottery (See Pub. L. 101-649,

      104 Stat. 4978, enacted November 29, 1990, introduced by Senator Ted Kennedy in 1989,

      signed into law by George H. W. Bush on November 29, 1990).

         22. Plaintiff states that Imran Awan was the benefactor of the Diversity Immigration Visa

      program in advance of high school graduation, becoming a dual citizen of the United States in

      2004, retaining his Pakistan citizenship. Plaintiff will seek the designation (H-1, H-1B, H-1D,

      etc.) of the secured visa in discovery.

         23. Plaintiff states that Imran Awan worked for Representatives Gregory Meeks, Yvette

      Clarke, Hakeem Jeffries, Joseph Crowley who at the time serves as the Queens DNC

      Chairman. Plaintiff reserves the right to call the foregoing parties as co-Defendants to this

      action. Plaintiff states that the records reflect a termination history, despite that termination

      history, the DNC retained the services of Imran Awan with the RNC allowing same to continue

      to eleven (11) years, exposing great risk to national security.

         24. Plaintiff states that the foregoing actions accumulate with those of the historical record,

      of and belonging to BCC International and specifically the Awan Brothers who are referenced

      by name lineage in and among the BCC International record, Marc Rich and Pincus Green.




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         25. Plaintiff states that the Honorable Judge Chutkan has affixed to the undercurrent

      scheme in the legal prudence applied in the Awan case. The facts provided are in no manner

      complete. The foregoing statement is magnified with the benefit of the historic facts, as

      below:

                 a. The Democrat House Intel Committee members compromised themselves and

                     gave unfettered IT access to persons from a nation-state with a known

                     evidenced history of terrorism, these parties included Imran Awan, Abid Awan

                     and Jamal Awan.

                 b. Witness testimony included a sovereign citizen who was subject to wiretapping

                     and having her personal bank accounts controlled by Imran Awan, the accounts

                     were later drained.

                 c. The timing of the Russian hoax in relation to the Awan Brothers disclosure,

                     noting the evidenced statements and Exhibits presented by the Plaintiff which

                     irrefutably confirm that Russian interference in the elections was a fabrication

                     designed for a dual outcome manifestation; 1)mask the actions of the breach of

                     Constitutional thresholds to national security conducted through Defendant

                     DEBBIE WASSERMAN SHULTZ with the aid of ZAVIER BECERRA,

                     Gregory Meeks, Yvette Clarke, Hakeem Jeffries and Joseph Crowley

                     (Democratic Party Chair – Queens, NY); 2)Prevezon and Bill Browder, the

                     history of association with Defendant WILLIAM J. CLINTON and HILLARY

                     R. CLINTON as well the redundancy of actions to that of the Awan Brothers,

                     inclusive of the rental properties and government infiltrations (See ECF 45,

                     p.34, ¶73).



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               d. The Awan Brothers destroyed servers in the residence before the FBI

                  investigators could access them.

               e. The Awan Brothers made unauthorized access to the House computer system on

                  more than one occasion. House information was discovered on external cloud

                  servers wherein the Awan Brothers had been responsible for such access and

                  movement of data.

               f. The Defendant, DEBBIE WASSERMAN SCHULTZ advocated on behalf of

                  private loans for Imran Awan, the loan which was found by the originator to be

                  contextually fraudulent.

               g. The United States Congressional offices experienced an unprecedented volume

                  of hacking events during the period in which the Awan Brothers were

                  contracted. Records, (See EXHIBIT 1) provide that Imran Awan required

                  House central IT bend the statutory rules for his access and use of the IT

                  structure to limit paper trails in his access to unusually high permissions which

                  he sought access. Obviating the paper trail dismissed the checks and balances,

                  including disclosure of access points, changes made, or information

                  downloaded, accessed, or destroyed as well nefarious upload of external

                  information, malware, etc.

               h. The foregoing serious compromises to national security were fully documented

                  by at least three investigations (Capitol Police, the FBI, and House

                  Intelligence). Simultaneous to these events, claims were being professed

                  through media sources of Russian infiltration into the DNC servers which were

                  later found to be fabricated.



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                        i. The Defendant, DEBBIE WASSERMAN SCHULTZ, DNC Chairwoman,

                             refused to terminate Imran Awan, confronting Capitol Police in the most

                             unprofessional of conduct, including threats of monetary appropriation being

                             withheld. Thereafter, Defendant DNC demanded her laptop be returned from

                             Capitol Police which was being held as evidence in their investigation. The

                             DNC again admitted having violated official information security protocols,

                             (See EXHIBIT 1) but maintained a confrontational demeanor in redress of the

                             matter, entirely.

                        j. Other matters involving the Fairfax County, Virginia police involved Samina

                             Galani1 who claimed, in advance of the breaking House story, to be bullied out

                             of her property by the Awan Brothers, stating that he was “very

                             powerful…travels with a VIP police escort in Pakistan (based on)…his political

                             power in the U.S.” The facts of the case are parallel to Plaintiff’s harms, as

                             below. The statement of being “very powerful…” gives inference to unspoken

                             facts, those of either perception of the Awan Brothers or those true and factual

                             apart from transparency.

                        k. In 2010 while working with the Defendant DEBBIE WASSERMAN SHULTZ,

                             formed an LLC (Cars International A, LLC), which Imran Awan referred to as

                             “CIA”. His former business partner described the finances involved as “bizarre

                             and complicated (money) transfers.”




 1
  Kant, Garth. The Biggest Scandal You’ve Never Heard Of. June 29, 2017, accessed April 10, 2024.
 https://www.wnd.com/2017/06-the-biggest-scandal-youve-never-heard-of/

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                        l. One of the business transactions involved “Dr. Ali Al-Attar, who has ties to the

                            Iranian-backed terrorist group Hezbollah, and (who) fled to the Mideast to

                            avoid prosecution for tax fraud in the United States.”2

                        m. The foregoing evident facts become extremely problematic for individuals,

                            contracted or otherwise, working in IT with unfettered access to governmental

                            information including those of national security, including but not limited to

                            personal conduct, the absence of security concerns of written records and

                                          PLAINTIFF’S CAUSES OF ACTION

                           I – COMPUTER FRAUD AND ABUSE ACT (18 U.S.C. §1030(A)

                26. Plaintiff realleges and incorporates by reference all paragraphs as set forth in the

             Amended Complaint.

                27. The Plaintiff’s computers are involved in interstate and foreign commerce and

             communication, and are protected under 18 U.S.C. §1030(e)(2).

                28. On information and belief, the DNC and the RNC knowingly and internally accessed

             the Plaintiff’s computers without authorization or in excess of authorization, and thereby

             obtained and used valuable information from those computers in violation of 18 U.S.C.

             §1030(a)(2)(C). Such information includes, but was not limited to private, politically and non-

             partisan sensitive communications between the Plaintiff and the People, stakeholders,

             candidates and poll workers affixed to matters of the election and political process;

             confidential donor data; digital proprietary information; proprietary analysis and data

             methodology designs; Plaintiff-developed code; confidential campaign strategy plans;

             opposition and policy research; and documents regarding planned activities, events,



 2
     Ibid.

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      fundraisers and rallies. The information was used to advance the plan to denigrate the

      Plaintiff’s actions across the United States and bolster the campaigns and/or undercurrent

      schemes by strategically leaking or taking advanced action on the proprietary information

      stolen from the Plaintiff.

         29. On information and belief, the DNC and the RNC knowingly and internally gave

      access to the Awan Brothers to government computers without authorization or in excess of

      authorization, and thereby the Awan Brothers obtained and used valuable information from

      those computers in violation of 18 U.S.C. §1030(a)(2)(C). Such information includes, but was

      not limited to private, politically and non-partisan sensitive communications between the

      government and the People, stakeholders, candidates and poll workers affixed to matters of the

      election and political process; confidential donor data; digital proprietary information;

      proprietary analysis and data methodology designs; government-developed code; confidential

      campaign strategy plans; opposition and policy research; and documents regarding planned

      activities, events, fundraisers and rallies. The information was used to advance the plan to

      denigrate the government protections afforded by the Constitution across the United States and

      bolster the computer peripheries, campaigns and/or undercurrent schemes by strategically

      leaking or taking advanced action on the proprietary information stolen from the government

      of the United States.

         30. Upon information and belief, the DNC and RNC knowingly caused the transmission of

      information or a program, code, or command, and as a result of such conduct, intentionally

      caused damage without authorization, to a protected computer, in violation of 18 U.S.C.

      §1030(a)(5)(A). Such transmission included, but was not limited to, the use of malware on

      Plaintiff’s systems.



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          31. Upon information and belief, the DNC and RNC intentionally accessed a protected

      computer or computers without permission, and as a result of such conduct, cause damage and

      loss, in violation of 18 U.S.C.(a)(5)(C), or recklessly caused damage, in violation of 18 U.S.C.

      §1030(a)(5)(B).

          32. Upon information and belief, the DNC and RNC knowingly and with the intent to

      defraud, trafficked passwords and similar proprietary information from the Plaintiff’s systems,

      and such trafficking affected interstate and foreign commerce in violation of 18 U.S.C.

      §1030(a)(6)(A).

                                  RICO (18 U.S.C. §§1962 (C), (D))

          33. Plaintiff realleges and incorporates by reference all prior paragraphs of Amended

      Complaint and paragraphs in this Opposition Motion in the harms enumerated below as though

      set forth fully herein.

          34. Defendants, the DNC, the RNC, DEBBIE WASSERMAN SCHULTZ, WILLIAM J.

      CLINTON and HILLARY R. CLINTON are all “persons” within the meaning of 18 U.S.C.

      §§1961(3); 1962(c), with DEBBIE WASSERMAN SCHULTZ acting as the primary conduit to

      the criminal espionage breach and in her capacity as DNC Chairperson. At all relevant times,

      Defendants conducted the affairs of an Enterprise -which affected interstate and foreign

      commerce – through a pattern of racketeering activity, in violation of 18 U.S.C. §1962(c).

      Each Defendant agreed that the operation would involve repeated violations of 18 U.S.C.

      §1831 (economic espionage); 18 U.S.C. §1832 (theft of trade secrets); 18 U.S.C. §1503

      (relating to obstruction of justice); and 18 U.S.C. §1512 (relating to tampering with a witness,

      victim, or an informant).

              A. The DNC and RNC were the Racketeering Enterprises.



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         35. The DNC was a Racketeering Enterprise, as that term is used in 18 U.S.C. §1961(4).

      The Enterprise was formed in 1848.

         36. The RNC was a Racketeering Enterprise, as that term is used in 18 U.S.C. §1961(4).

      The Enterprise was formed in 1854.

         37. The DNC and the RNC had an ongoing organizational framework for carrying out its

      objectives.

         38. Because the DNC contracted with Awan Brothers, expending $5 million while

      providing absolute and total unfettered access to House Intelligence computers through the IT

      contract, those areas not contracted were hacked by the Awan Brothers.

         39. Because the RNC permitted without obstructing the co-Defendant, DNC, to commence

      the blatant breach.

         40. Each of the Defendants, the DNC and the RNC as well those of the amended

      complaint, MERRICK GARLAND, LLOYD AUSTIN, WILLIAM J. BURNS,

      CHRISTOPHER A. WRAY, DENIS MCDONOUGH, ALEJANDRO MAYORKAS, MARCIA

      FUDGE, ROBERT CALIFF, WILLIAM J. CLINTON, HILLARY R. CLINTON, THOMAS

      KEAN SR., ROBERT MUELLER, JAMES COMEY, CHRISTOPHER J. CHRISTIE,

      RICHARD “DICK” CHENEY, ELIZABETH “LIZ” CHENEY, JOHN KERRY, GEORGE W.

      BUSH, BARACK HUSSEIN OBAMA, LORETTA LYNCH, JAMES BAKER, ERIC

      HOLDER, JOSEPH R. BIDEN, JOHN ASHCROFT, JAIME GORELICK, NANCY PELOSI,

      GEORGE NORCROSS, PHILIP MURPHY, TAHESHA WAY, JUDITH PERSICHILLI,

      SEJAL HATHI, MATTHEW PLATKIN, KATHY HOCHUL, ANDREW CUOMO, LETITIA

      JAMES, SUSAN RICE, ADAM SCHIFF, CHARLES “CHUCK” SCHUMER, XAVIER

      BECERRA, JANET YELLEN, ROD ROSENSTEIN, HUMA ABEDIN, DEBBIE



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      WASSERMAN SCHULTZ, BILL NELSON, the DEMOCRATIC NATIONAL COMMITTEE,

      the REPUBLICAN NATIONAL COMMITTEE, OCCIDENTAL PETROLEUM, UNITED

      HEALTHCARE, JAMES PITTINGER, LISA SELLA, and ROBERT JUNGE, conducted

      and/or participated in the affairs of the DNC and RNC through a pattern of racketeering

      activity, including acts indictable under 18 U.S.C. § 1831 (economic espionage); and 18

      U.S.C. §1832 (theft of trade secrets).

             B. Alternatively, And At the Very Least, the RNC was Part of An Association-in-Fact

                 Enterprise.

         41. Alternatively, and at the very least, the DNC and the RNC was part of an Association-

      in-Fact Enterprise comprised of the co-defendants, MERRICK GARLAND, LLOYD

      AUSTIN, WILLIAM J. BURNS, CHRISTOPHER A. WRAY, DENIS MCDONOUGH,

      ALEJANDRO MAYORKAS, MARCIA FUDGE, ROBERT CALIFF, WILLIAM J.

      CLINTON, HILLARY R. CLINTON, THOMAS KEAN SR., ROBERT MUELLER, JAMES

      COMEY, CHRISTOPHER J. CHRISTIE, RICHARD “DICK” CHENEY, ELIZABETH “LIZ”

      CHENEY, JOHN KERRY, GEORGE W. BUSH, BARACK HUSSEIN OBAMA, LORETTA

      LYNCH, JAMES BAKER, ERIC HOLDER, JOSEPH R. BIDEN, JOHN ASHCROFT,

      JAIME GORELICK, NANCY PELOSI, GEORGE NORCROSS, PHILIP MURPHY,

      TAHESHA WAY, JUDITH PERSICHILLI, SEJAL HATHI, MATTHEW PLATKIN, KATHY

      HOCHUL, ANDREW CUOMO, LETITIA JAMES, SUSAN RICE, ADAM SCHIFF,

      CHARLES “CHUCK” SCHUMER, XAVIER BECERRA, JANET YELLEN, ROD

      ROSENSTEIN, HUMA ABEDIN, DEBBIE WASSERMAN SCHULTZ, BILL NELSON, the

      DEMOCRATIC NATIONAL COMMITTEE, the REPUBLICAN NATIONAL COMMITTEE,

      OCCIDENTAL PETROLEUM, UNITED HEALTHCARE, JAMES PITTINGER, LISA



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      SELLA, and ROBERT JUNGE, the Defendants’ employees and agents, and additional entities

      and individuals known and unknown. The Association-In-Fact Enterprise was formed until the

      present, the members of the Association-in-Fact Enterprise have worked together to further

      their mutual goal of using illegal means to secure the undercurrent scheme and its grip on

      these United States, intent on dismantling these United States, causing irreparable harm to her

      inhabitants, up to and including death.

         42. The Association-in-Fact Enterprise had an ongoing organizational framework for

      carrying out its objectives. In fact, the Association-in-Fact Enterprise could not have carried

      out its intricate task of sharing confidential information at the moments when it would be most

      beneficial to the DNC and the RNC unless it had some structure for making and

      communication group decisions.

         43. As described above, the Defendants, the DNC and RNC participated in the operation or

      management of the Association-in-Fact Enterprise, and benefitted financially from the

      enterprise.

         44. Because the Association-in-Fact Enterprise’s activities affected electoral spending in

      2020, as well as the media response to the 2020 presidential rate, it affected interstate and

      foreign commerce.

             C. RICO Predicate Acts.

         45. Each Defendant conducted and/or participated in the affairs of the Awan Brothers in

      among the Defendants, the DNC and the RNC and the Association-in-Fact Enterprise through

      a pattern of racketeering activities, including acts indictable under 18 U.S.C. §1831 (economic

      espionage); 18 U.S.C. §1832 (theft of trade secrets); 18 U.S.C. §1503 (relating to obstruction




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      of justice); and 18 U.S.C. §1512 (relating to tampering with a witness, victim, or an

      informant).

                 a. Economic Espionage.

         46. Beginning in the 1920’s and, specifically under the structure of BCC International (See

      ECF 45-1), originally conceived by Agha Hasan Abedi and his assistant, Swaleh Naqvi,

      through their designees, the Awan Brothers, the Defendants have repeatedly attempted – in

      many instances, successfully – to steal, and without authorization appropriate, take, carry way,

      or by fraud, artifice, or deception obtain trade secrets from the government of these United

      States, intending or knowing that doing so would benefit the global apparatus,

      instrumentalities, or agents, in violation of 18 U.S.C. §§1831(a)(1); 1831(a)(4); 18 U.S.C.

      §§1831(a)(2); 1831(a)(3); and 1831(a)(5).

         47. Beginning on or before January, 2004, the DNC and RNC, without authorization,

      copied, duplicated, downloaded, uploaded, altered, destroyed, replicated, transmitted,

      delivered, sent, communicated, and/or conveyed Plaintiff’s trade secrets, intended or knowing

      that doing so would benefit the DNC and RNC, their instrumentalities or agents, in violation of

      18 U.S.C. §§1831(a)(2); 1831(a)(3); and 1831(a)(5).

         48. Beginning on or before January, 2004, the DNC and RNC gave consent to the Awan

      Brothers, without authorization, copied, duplicated, downloaded, uploaded, altered, destroyed,

      replicated, transmitted, delivered, sent, communicated, and/or conveyed Governmental trade

      secrets of these United States, intended or knowing that doing so would benefit the

      undercurrent scheme principally operated by Defendants, WILLIAM J. CLINTON and

      HILLARY R. CLINTON, their instrumentalities or agents, in violation of 18 U.S.C.

      §§1831(a)(2); 1831(a)(3); and 1831(a)(5).



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             b. Theft of Trade Secrets.

         49. Beginning on or before 1920’s and, specifically under the structure of BCC

      International (See ECF 45-1), originally conceived by Agha Hasan Abedi and his assistant,

      Swaleh Naqvi, through their designees, the Awan Brothers, the Defendants have repeatedly

      attempted – in many instances, successfully – to steal, and without authorization appropriate,

      take, carry way, or by fraud, artifice, or deception obtain trade secrets from the government of

      these United States, intending to convert those trade secrets, which are and were related to

      products or services used in or intended for use in interstate commerce, to the economic

      benefit of other Defendants and non-defendant coconspirators, and intending and knowing that

      the offense would injure the government of these United States, in violation of 18 U.S.C.

      §§1832(a)(1); 1832(a)(4); 18 U.S.C. §§1832(a)(2); 183(a)(3); and 1831(a)(5).

         50. Beginning on or January, 2004, the Defendants, the DNC and the RNC have repeatedly

      attempted – in many instances, successfully – to steal, and without authorization appropriate,

      take, carry way, or by fraud, artifice, or deception obtain trade secrets from the government of

      these United States, intending to convert those trade secrets, which are and were related to

      products or services used in or intended for use in interstate commerce, to the economic

      benefit of other Defendants and non-defendant coconspirators, and intending and knowing that

      the offense would injure the government of these United States, in violation of, in violation of

      18 U.S.C. §§1831(a)(2); 1831(a)(3); and 1831(a)(5).

         51. Beginning on or before January, 2004, the DNC and RNC gave consent to the Awan

      Brothers, without authorization, copied, duplicated, downloaded, uploaded, altered, destroyed,

      replicated, transmitted, delivered, sent, communicated, and/or conveyed Plaintiff’s trade

      secrets with the intent to convert those trade secrets, which are and were related to products or



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      service used in or intended for use in interstate commerce, to the economic benefit of

      themselves and the other Defendants and non-defendant coconspirators, and intending and

      knowing that the offense would injure the Plaintiff in violation of 18 U.S.C. §§1831(a)(2);

      1831(a)(3); and 1831(a)(5).

         c. Obstruction of Justice.

         52. As explained in detail in the amended complaint and herein, the Defendants and non-

      defendant coconspirators repeatedly obstructed justice in violation of 18 U.S.C. §1503,

      including on the dates set forth below.

         53. Beginning on or before January, 2004, the DNC and the RNC corruptly endeavored to

      obstruct and impeded – and did obstruct and impede – the due administration of justice, in

      violation of 18 U.S.C. §1503(a).

         54. Beginning on or before January, 2004, the co-defendants, MERRICK GARLAND,

      LLOYD AUSTIN, WILLIAM J. BURNS, CHRISTOPHER A. WRAY, DENIS

      MCDONOUGH, ALEJANDRO MAYORKAS, MARCIA FUDGE, ROBERT CALIFF,

      WILLIAM J. CLINTON, HILLARY R. CLINTON, THOMAS KEAN SR., ROBERT

      MUELLER, JAMES COMEY, CHRISTOPHER J. CHRISTIE, RICHARD “DICK”

      CHENEY, ELIZABETH “LIZ” CHENEY, JOHN KERRY, GEORGE W. BUSH, BARACK

      HUSSEIN OBAMA, LORETTA LYNCH, JAMES BAKER, ERIC HOLDER, JOSEPH R.

      BIDEN, JOHN ASHCROFT, JAIME GORELICK, NANCY PELOSI, GEORGE

      NORCROSS, PHILIP MURPHY, TAHESHA WAY, JUDITH PERSICHILLI, SEJAL HATHI,

      MATTHEW PLATKIN, KATHY HOCHUL, ANDREW CUOMO, LETITIA JAMES, SUSAN

      RICE, ADAM SCHIFF, CHARLES “CHUCK” SCHUMER, XAVIER BECERRA, JANET

      YELLEN, ROD ROSENSTEIN, HUMA ABEDIN, DEBBIE WASSERMAN SCHULTZ,



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      BILL NELSON, the DEMOCRATIC NATIONAL COMMITTEE, the REPUBLICAN

      NATIONAL COMMITTEE, OCCIDENTAL PETROLEUM, UNITED HEALTHCARE,

      JAMES PITTINGER, LISA SELLA, and ROBERT JUNGE corruptly endeavored to obstruct

      and impede – and did obstruct and impede – the due administration of justice, in violation of

      18 U.S.C. §1503(a)

                  d. Witness Tampering.

          55. As explained in detail in the amended complaint and herein, the Defendants and non-

      defendant coconspirators repeatedly obstructed official proceedings in violation of 18 U.S.C.

      §§1512), (k), and 1512(c)(2), including on the dates set forth below.

          56. Beginning on or before January, 2004, the DNC and the RNC corruptly altered,

      destroyed, mutilated, or concealed a record, document, or other object with the intent to impair

      the object’s integrity or availability for use in an official proceeding, including elections, in

      violation of 18 U.S.C. §§1512(c)(1), (k) and 1512(c)(2).

          57. Beginning on or before January, 2004, the Awan Brothers by way of access provided

      by the Defendants, the DNC and RNC, corruptly altered, destroyed, mutilated, or concealed a

      record, document, or other object with the intent to impair the object’s integrity or availability

      for use in an official proceeding, including elections, in violation of 18 U.S.C. §1512(c)(1),

      (k), and 1512(c)(2).

                                WIRETAP ACT (18 U.S.C. §§2510-22)

          58. Plaintiff realleges and incorporates by reference all prior paragraphs of Amended

      Complaint and paragraphs in this Opposition Motion in the harms enumerated below as though

      set forth fully herein.




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         59. Each of the above-listed Defendants is a “person” within the meaning of 18 U.S.C.

      §§2510, 2511.

         60. In violation of 18 U.S.C. §2511(1)(c), the DNC and the RNC willfully and

      internationally endeavored to disclose and did disclose the contents of Plaintiff’s wire, oral, or

      electronic communications, knowing or having reason to know that the information was

      obtained through the interception of wire, oral, or electronic communications in violation of 18

      U.S.C. §2511.

         61. Plaintiff had a justifiable expectation that its wire, oral, or electronic communications

      were not subject to interception.

         62. Plaintiff is a “person” whose wire, oral, or electronic communications were intercepted

      within the meaning of 18 U.S.C. §2520.

         63. As a direct result of the DNC and RNC’s actions, Plaintiff suffered irreparable harm to

      its business and property and is entitled to an award of the greater of the actual damages

      suffered or the statutory damages and injunctive relief pursuant to 18 U.S.C. §2520(c). This

      harm includes, but is not limited to, harm to computers, servers, harm to Plaintiff reputation,

      loss in the value of trade secrets, and business information, and harm to business as described

      above.

         64. As a direct result of the DNC and RNC’s actions, these United States has suffered

      irreparable harm to its core constitutional principles, including but not limited to the threat to

      national security, Plaintiff is entitled to punitive damages and reasonable attorneys’ fees and

      costs pursuant to 18 U.S.C. §§2520(b)(2) and (3).

                  STORED COMMUNICATIONS ACT (18 U.S.C. §§2701-12)




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         65. Plaintiff realleges and incorporates by reference all prior paragraphs of the amended

      complaint and paragraphs within the Opposition Motion hereto as set forth fully herein.

         66. Plaintiff is a “person” within the meaning of 18 U.S.C. §§2510(6) and 2707(a).

         67. The DNC and RNC willfully and intentionally provided venue of access to the Awan

      Brothers without authorization to a facility through which an electronic communication service

      is provided, namely the governmental computer systems, including their email servers, thereby

      obtaining access to wire or electronic communications while they were in electronic storage in

      such systems, in violation of 18 U.S.C. §2701(a).

         68. The DNC and the RNC willfully and intentionally accessed without authorization to a

      facility through which an electronic communication service is provided, namely the Plaintiff’s

      computer systems, including their email servers, including collaboration in and among 3 rd

      parties, thereby obtaining access to wire or electronic communications while they were in

      electronic storage in such systems, in violation of 18 U.S.C. §2701(a)

         69. As a result of these willful and intentional violations, Plaintiff has suffered damages

      and, as provided for in 18 U.S.C. §2707, seeks an award of the greater of the actual damages

      suffered or the statutory damages; punitive damages; attorneys fees, and other costs of this

      action; and appropriate equitable relief.

              DIGITAL MILLENNIUM COPYRIGHT ACT (17 U.S.C. §1201 ET. SEQ.)

         70. Plaintiff realleges and incorporates by reference all prior paragraphs of the amended

      complaint and paragraphs within the Opposition Motion hereto as set forth fully herein.

         71. Plaintiff’s computer networks and files contained information subject to protection

      under the copyright laws of the United States, including campaign strategy documents and

      opposition research that the DNC and RNC illegally accessed without authorization.



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          72. Access to the copyrighted material contained on the Plaintiff’s computer networks and

      email was controlled by technological measures, including measures restricting remote access,

      firewalls, and measures restricting access to users with valid credentials and passwords.

          73. In violation of 17 U.S.C. §1201(a), the DNC and RNC circumvented these

      technological barriers by stealing credentials from authorized users, conducting a “password

      dump” to unlawfully obtain passwords to the system controlling access to the Plaintiff’s

      domain, and installing malware on Plaintiff’s computer systems.

          74. In violation of 17 U.S.C. §1201(a), the DNC and RNC circumvented these

      technological barriers by stealing credentials from authorized users, conducting a “password

      dump” to unlawfully obtain passwords to the system controlling access to the governmental

      domain, and installing malware on governmental computer systems of and belonging to these

      United States including but not limited to those relating to elections.

          75. The DNC and RNC conduct cause the Plaintiff significant damages. These damages

      including, but are not limited to, damage resulting from harm to the Plaintiff’s computers, loss

      of the value of Plaintiff’s trade secrets and business information, and harm to business

      enterprise as described above. Plaintiff is entitled to the greater of its actual damages or

      statutory damages as provided by 17 U.S.C. §1203, in an amount to be proven at trial.

          76. Plaintiff is entitled to an award of attorneys’ fees and costs as provided by 17 U.S.C.

      §1203.

                                         VOTER CAGING

          77. Plaintiff realleges and incorporates by reference all prior paragraphs of the amended

      complaint and paragraphs within the Opposition Motion hereto as set forth fully herein

      restates.



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          78. Plaintiff analyzed the election data in New Jersey from 2020 – 2023.

          79. Plaintiff states her claims regarding the history of the Democratic National Committee

      v. Republican National Committee, 671 F. Supp. 2d 575, 579 (D.N.J. 2009)). From the

      aforementioned election analysis, as provided in EXHIBIT 2, the report states clearly that the

      turnout percentages reflect limited change, despite registration increasing. In point of fact, the

      various voting options appear to have deterred voter turnout. These data driven observations

      are consistent with the dropbox video recordation viewing, where ballots could be clearly

      visible as being inserted.

          80. Plaintiff states and reiterates her claims of Charter obligations of the DNC and RNC

      based on the foregoing facts. The facts provide that there exist no benchmarks or verified chain

      of custody for mail in ballots from the time they depart the voter until the time they are

      warehoused, post-election. Moreover, the protocol for dropbox recordations are inconsistent,

      not evidence quality and do not perform in the affirming their intent as most the opening faces

      away from the camera and out of view.

          81. Plaintiff states that the ongoing investigative malfeasance serves to disenfranchise

      voters. Plaintiff states that this a component of the BCC International design and mapping,

      causation in the failure of nation-state structure.

                                       HARMS STATEMENT

          82. The Plaintiff was forced to close her offices when the following four events transpired:

          a. Defendant, CHRISTOPHER J. CHRISTIE’s property management firm contacted the

      Plaintiff’s spouse for contracted services at his commercial property twice, once in 2022 and

      once in 2023. Plaintiff reiterates the herein claims of tampering and intimidation. Plaintiff

      does not yield.



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         b. Defendant, CHRISTOPHER WRAY’s designees contacted Plaintiff’s spouse for

      contracted services twice at their private residence, once in 2022, and once in 2023. Individual

      gave Plaintiff’s spouse and her son CIA token coins and made it a point to expound on touring

      his trophy office which included an array of photos with former Presidents, Senators, etc.

      Plaintiff retains one such token outside of residence, the other thrown in the garbage. Plaintiff

      reiterates the herein claims of tampering and intimidation. Plaintiff does not yield.

         c. Plaintiff’s client, “Mrs. X,” came to her in 2019, her life was endangered with a

      spousal restraining order, seeking assistance in her matrimonial matter with contracted forensic

      investigative work product requested. Upon completion of the retained contract, Plaintiff

      herself was made to feel threatened. The investigative work product clearly indicated false

      identities, fictitious entities, and money laundering, including mortgage fraud, securing credit

      cards in false or fictitious names, and securing social security numbers using fictitious names.

      Plaintiff advised “Mrs. X” to provide the forensic records to her matrimonial attorney for

      handling. The client was so fearful for her circumstances and those of her daughters that she

      withdrew the matrimonial matter altogether. Finding no choice, absent any contractual

      relationship, Plaintiff provided vocational recommendations and community support programs

      for abused women; after confirming the Mrs. X and her daughters were safe, the interact

      terminated. The parallels between the personal experience of the Plaintiff and the Awan

      Brothers victim, Mrs. Galani, are distinctly similar, exceeding coincidence. At the time of the

      Plaintiff’s interaction, knowledge regarding BCC International, etc. was not present.

         d. In December, 2021, Plaintiff received a client inquiry from “Mr. Y” claiming to be in

      dire circumstance of mortgage foreclosure, a Russian immigrant who formerly owned a check-

      cashing entity. When Plaintiff declined to engage a retainer, Mr. Y contacted the Plaintiff no



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      less than three times until the phone number was blocked Plaintiff’s computers are involved in

      the conduct of business in interstate, foreign commerce, federal and state as well as private

      agency communications, and the computers are protected under 18 U.S.C. §1030(e)(2).

         83. Plaintiff, having first-hand knowledge and experience with “Mrs. X” with both she and

      her spouse emigrating from Pakistan. The facts and Exhibits presented in the Plaintiff’s Final

      Supplement in Support of the Amended Complaint, EFC Doc. 50, attached hereto, Plaintiff

      restates each and every claim presented.

         84. Plaintiff states that the manifest personal harm caused by the DNC in fortifying the

      history of lies and malfeasance while buttressing the sheer ineptitude of Defendant, JOSEPH

      R. BIDEN is causational in the palpable disclosure of risk to personal life, liberty, and

      property.

         85. Plaintiff states that that the manifest personal harm caused by the RNC in its absence of

      holding to count, codified statutes, the Founding documents and regulations informed by the

      Constitution, in cases of egregious usurpation by elected officials of the current Administration

      has caused and will continue to cause risk of harm to personal life, liberty, and property.

         86. Plaintiff states that the lawfare being waged by the Defendant, JOSEPH R. BIDEN

      against his opponent in the presidency of these United States, has and continues to

      disenfranchise voters, including the Plaintiff, from choice in elections with such actions being

      supported by the DNC. The blatant abuse of Article II authority in stacking the deck among in

      and among the 3-branches of government, each with a history of compromised, bartered or

      political blackmail obligations, dismantles democracy. Plaintiff states injury resulting from

      harm to Plaintiff Civil Rights including but not limited to privacy rights, as stated herein, and

      including but not limited to the Help America Vote Act (“HAVA”).



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            87. Plaintiff holds very specific degrees of study which were applied in the analysis of the

        findings associated with nuclear trafficking and data triangulation. Applying those findings

        with the events involving Iran and Israel, Plaintiff restates harms as below:

                    a. The absence of Executive action in the interest of avoiding further global strife

                        and confrontation exposes a national security crisis. Citing Plaintiff’s

                        knowledge, carefully sourced and affirmed data findings, Plaintiff holds that her

                        personal life, liberty, and property are in grave jeopardy.

                    b. Plaintiff states that the volume of public private partnership agreements that

                        result in outsourcing security, including but not limited to Accenture as

                        provided for in the supplements to the amended complaint, See EFC 46, p.14,

                        which include known impositions that have already resulted, and are continuing

                        to be at great risk to Plaintiff’s reasonable expectation of life, liberty, and

                        property. The subject agreements are outsourcing the constitutional checks and

                        balances affixed to sovereign vote, accountability, cost, and expense escalation

                        as well the consequence on Plaintiff’s rising housing costs.

                    c. The unfettered accountability on the part of the Defendant, the DNC as to the

                        co-Defendant, BARACK HUSSEIN OBAMA, WILLIAM J. CLINTON and

                        HILLARY R. CLINTON and the known actions as represented in the amended

                        complaint and supplements hereto have provided and continue to provide great

                        risk of harm to Plaintiff’s Civil Rights and life, liberty, and property.

        WHEREFORE, Plaintiff demands judgment against Defendants on all counts, and seeks such

 relief as specified below for all allegations for which such relief is provided by law:




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            a. Awarding Plaintiff damages in an amount to be determined, including but not

               limited to all damages and losses suffered by Plaintiff as a result of the illegal

               hacking, theft, and subsequent release of Plaintiff’s confidential documents and/or

               Plaintiff’s response to and remediation related thereto;

            b. Rewarding Plaintiff compensatory and treble damages, as available, in an amount

               to be proven by trial;

            c. Awarding Plaintiff the financial fain earned by Defendants as a consequence of the

               violations described herein;

            d. Awarding Plaintiff statutory damages, as available;

            e. Awarding Plaintiff punitive damages, as available;

            f. Issuing a declaration that: Defendants, according to proof, conspired to and did

               damage in a common scheme to affect the illegal and unauthorized hacking of

               Plaintiff’s computer systems and/or personal emails and the exfiltration of

               confidential information; disseminated that stolen information to the extraneous

               parties; and used that disclosed stolen information for their own gain;

            g. Issuing an injunction restraining Defendants, and their officers, agents, servants,

               employees, assigns, and those acting in active concert or participation with them

               from:

                           i. Assessing Plaintiff’s computer networks and/or personal emails

                               without Plaintiff’s authorization;

                           ii. Engaging in any activity that disrupts, diminishes the quality of,

                               interferes with the performance of, or impairs the functionality of

                               Plaintiff’s computer networks or personal emails; and



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                                iii. Selling, publishing, distributing, or using any property or

                                     information obtained from Plaintiff’s computer networks or personal

                                     emails without Plaintiff’s authorization;

                                iv. Removing, extracting, or copying any information or data from

                                     Plaintiff’s computer or personal emails without Plaintiff’s

                                     authorization;

                  h. Awarding Plaintiff all costs and attorneys’ fees to the full extent permitted under

                     applicable law;

                  i. Awarding Plaintiff pre-and post-judgment interest as permitted by law;

                  j. Awarding any other relief as the Court may deem just and proper.



                                    CERTIFICATION OF SERVICE

        Plaintiff, Mary Basile Logan, hereby certifies that on this 15 th day of April, 2024, I

 electronically filed the foregoing Plaintiff’s Opposition to Defendants’ Motion to Dismiss the

 Complaint with the Clerk’s office of the U.S. District Court for the District of New Jersey using the

 Electronic Case Filing (“ECF”), to be served upon the Defendant, the Democratic National Committee

 (“DNC”), and the Republic National Committee (“RNC”), same being notice of electronic filing to

 the following:

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 Dated April 15, 2024
                                                       Respectfully submitted,

                                                       /s/Mary B. Logan______
                                                       Mary Basile Logan
                                                       Plaintiff (Pro Se)

 cc:    All Counsel of Record (Via ECF)




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